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Davor Rukavina, Esq.
Texas Bar No. 24030781
Julian P. Vasek, Esq.
Texas Bar No. 24070790
MUNSCH HARDT KOPF & HARR, P.C.
3800 Ross Tower
500 N. Akard Street
Dallas, TX 75202-2790
Telephone: (214) 855-7500
Facsimile: (214) 978-4375

ATTORNEYS FOR THE DEFENDANT

                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 In re                                            §
                                                  §
                                                                     Chapter 11
 HIGHLAND CAPITAL MANAGEMENT,                     §
 L.P.,                                            §
                                                              Case No. 19-34054-sgj11
                                                  §
          Debtor.                                 §
                                                  §
 HIGHLAND CAPITAL MANAGEMENT,                     §
 L.P.,                                            §
                                                  §
          Plaintiff,                              §
                                                  §
                                                                 Adv. No. 21-03005
 v.                                               §
                                                  §
 NEXPOINT ADVISORS, L.P.,                         §
                                                  §
          Defendant.                              §
                                                  §

                            NOTICE OF STATUS CONFERENCE

         PLEASE TAKE NOTICE that the United States Bankruptcy Court for the Northern

District of Texas has set a status conference on the Defendant’s Motion to Withdraw the Reference,

to be held before the Honorable Stacey G.C. Jernigan, United States Bankruptcy Judge, on May

25, 2021 at 1:30 p.m.

         The status conference shall be held by WebEx as follows:




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                                  For WebEx Video Participation/Attendance:

                                 Link: https://us-courts.webex.com/meet/jerniga



                           For WebEx Telephonic Only Participation/Attendance:

                                            Dial-In: 1.650.479.3207

                                           Meeting ID: 479 393 582

         Please see attached for further instructions.

         RESPECTFULLY SUBMITTED this 13th day of April, 2021.

                                                    MUNSCH HARDT KOPF & HARR, P.C.

                                                    By: /s/ Davor Rukavina
                                                         Davor Rukavina, Esq.
                                                         Texas Bar No. 24030781
                                                         Julian P. Vasek, Esq.
                                                         Texas Bar No. 24070790
                                                         3800 Ross Tower
                                                         500 N. Akard Street
                                                         Dallas, Texas 75201-6659
                                                         Telephone: (214) 855-7500
                                                         Facsimile: (214) 855-7584
                                                          Email: drukavina@munsch.com

                                                    COUNSEL FOR NEXPOINT ADVISORS, L.P.




                                       CERTIFICATE OF SERVICE

        The undersigned hereby certifies that, on this the 13th day of April, 2021, true and correct
copies of this document were electronically served by the Court’s ECF system on parties entitled
to notice thereof, including on the Plaintiff through its counsel of record.

                                                    /s/ Davor Rukavina
                                                    Davor Rukavina



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                               WebEx Hearing Instructions
                                     Judge Stacey G. Jernigan
Pursuant to General Order 2020-14 issued by the Court on May 20, 2020, all hearings before Judge Stacey
G. Jernigan are currently being conducted by WebEx videoconference unless ordered otherwise.

For WebEx Video Participation/Attendance:
Link:   https://us-courts.webex.com/meet/jerniga

For WebEx Telephonic Only Participation/Attendance:
Dial-In: 1.650.479.3207
Meeting ID: 479 393 582

Participation/Attendance Requirements:
•       Counsel and other parties in interest who plan to actively participate in the hearing are encouraged
        to attend the hearing in the WebEx video mode using the WebEx video link above. Counsel and
        other parties in interest who will not be seeking to introduce any evidence at the hearing and who
        wish to attend the hearing in a telephonic only mode may attend the hearing in the WebEx
        telephonic only mode using the WebEx dial-in and meeting ID above.
•       Attendees should join the WebEx hearing at least 10 minutes prior to the hearing start time. Please
        be advised that a hearing may already be in progress. During hearings, participants are required to
        keep their lines on mute at all times that they are not addressing the Court or otherwise actively
        participating in the hearing. The Court reserves the right to disconnect or place on permanent
        mute any attendee that causes any disruption to the proceedings. For general information and
        tips with respect to WebEx participation and attendance, please see Clerk’s Notice 20-04: https://
        www.txnb.uscourts.gov/sites/txnb/files/hearings/Webex%20Information%20and%20Tips_0.pdf
•       Witnesses are required to attend the hearing in the WebEx video mode and live testimony
        will only be accepted from witnesses who have the WebEx video function activated.
        Telephonic testimony without accompanying video will not be accepted by the Court.
•       All WebEx hearing attendees are required to comply with Judge Jernigan’s Telephonic
        and Videoconference Hearing Policy (included within Judge Jernigan’s Judge-Specific
        Guidelines): https://www.txnb.uscourts.gov/content/judge-stacey-g-c-jernigan

Exhibit Requirements:
       Any party intending to introduce documentary evidence at the hearing must file an exhibit list in
        the case with a true and correct copy of each designated exhibit filed as a separate, individual
        attachment thereto so that the Court and all participants have ready access to all designated exhibits.
       If the number of pages of such exhibits exceeds 100, then such party must also deliver two (2) sets
        of such exhibits in exhibit binders to the Court by no later than twenty-four (24) hours in advance
        of the hearing.

Notice of Hearing Content and Filing Requirements:
IMPORTANT: For all hearings that will be conducted by WebEx only:
•       The Notice of Hearing filed in the case and served on parties in interest must: (1) provide notice
        that the hearing will be conducted by WebEx videoconference only, (2) provide notice of the above
        WebEx video participation/attendance link, and (3) attach a copy of these WebEx Hearing
        Instructions or provide notice that they may be obtained from Judge Jernigan's hearing/calendar
        site: https://www.txnb.uscourts.gov/judges-info/hearing-dates/judge-jernigans-hearing-dates.
•       When electronically filing the Notice of Hearing via CM/ECF select “at https://us-
        courts.webex.com/meet/jerniga” as the location of the hearing (note: this option appears
        immediately after the first set of Wichita Falls locations). Do not select Judge Jernigan's Dallas
        courtroom as the location for the hearing.
